           Case 5:18-cv-00716-R Document 45 Filed 10/17/19 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

WILLIAM MIGHT,                )
                              )
              Plaintiff,      )
                              )
v.                            )                         CIV-18-716-R
                              )
CAPITAL ONE BANK (USA), N.A., )
                              )
              Defendant.      )


                        ADMINISTRATIVE CLOSING ORDER

       On the representation from counsel that the parties have reached a settlement and

compromise, it is ordered that the Clerk administratively terminate this action in her

records without prejudice to the rights of the parties to reopen the proceeding for good

cause shown, for the entry of any stipulation or order, or for any other purpose required to

obtain a final determination of the litigation.

       If the parties have not reopened this case within 60 days from this date for the

purpose of dismissal pursuant to the settlement compromise, Plaintiff’s action shall be

deemed to be dismissed.

       IT IS SO ORDERED this 17th day of October 2019.
